       Case 4:15-cr-00038-JM        Document 444      Filed 01/29/16   Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                No. 4:15CR0038-28 JM

DORIS JEAN JOHNSON


                                          ORDER

       Pending is the government’s motion to dismiss. (Docket #443). The motion is GRANTED.

The indictment, superseding indictment and second superseding indictment against Doris Jean

Johnson are hereby dismissed without prejudice.

       IT IS SO ORDERED this 29th day of January, 2016.



                                                  __________________________________
                                                  JAMES M. MOODY JR.
                                                  UNITED STATES DISTRICT JUDGE
